




Dismissed and Memorandum Opinion filed February 8, 2007








Dismissed
and Memorandum Opinion filed February 8, 2007.

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-07-00073-CR

____________

&nbsp;

MICHAEL J. HERNANDEZ,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
209th District Court

&nbsp;Harris County, Texas

Trial Court Cause No. 1021667

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to evading arrest.&nbsp; In accordance with the terms of a
plea bargain agreement with the State, the trial court sentenced appellant on
December 11, 2006, to confinement for 180 days in the State Jail Division of
the Texas Department of Criminal Justice.&nbsp; Appellant filed a pro se notice of
appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed
February 8, 2007.

Panel consists of Justices Frost, Seymore, and Guzman.

Do Not Publish C Tex. R. App. P.
47.2(b)





